Case 15-53700-wlh       Doc 384    Filed 07/29/20 Entered 07/29/20 09:58:08           Desc Main
                                  Document      Page 1 of 5




   IT IS ORDERED as set forth below:



   Date: July 29, 2020
                                                     _____________________________________
                                                                Wendy L. Hagenau
                                                           U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       :       CASE NO. 15-53700-WLH
                                             :
BRENDA K. ROBERTSON,                         :       CHAPTER 7
                                             :
         Debtor.                             :
                                             :


      CONSENT ORDER APPROVING FIRST INTERIM APPLICATIONS FOR
   ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
   OF EXPENSES BY TRUSTEE AND PROFESSIONALS EMPLOYED BY TRUSTEE

         On June 16, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Brenda K. Robertson, and the following professionals of

Trustee (collectively with Trustee, the “Applicants”) filed their first interim Chapter 7 fee

applications (collectively, the “First Interim Applications”) for allowance of interim

compensation and reimbursement of expenses for services rendered in the above case:



15284663v1
Case 15-53700-wlh           Doc 384       Filed 07/29/20 Entered 07/29/20 09:58:08                     Desc Main
                                         Document      Page 2 of 5



Applicant                               Doc.      Fees              Fees             Expenses        Total
                                        No.       Requested         Requested        Requested       Requested
                                                  for               to be Paid       to be Paid      to be Paid
                                                  Allowance
S. Gregory Hays, Chapter 7             #377       $33,822.78        $33,822.78       $172.78         $33,995.56
Trustee
Hays Financial Consulting,             #378       $34,415.00        $34,415.00       $305.72         $34,720.72
LLC, Accountants
Arnall Golden Gregory LLP,             #376       $253,749.00 $180,000.00 $2,657.65                  $182,657.65
Attorneys

         On June 17, 2020, counsel for Trustee filed a notice of hearing [Doc. No. 380] (the

“Notice”) setting the First Interim Applications for hearing on July 23, 2020 (the “Hearing”).

         Counsel for Trustee asserts that the Notice was served on all requisite creditors and

parties in interest in this case [Doc. No. 381].

         On July 21, 2020, BlueAsh Group, LLC (“BlueAsh”), a creditor of the Bankruptcy

Estate, filed an objection [Doc. No. 382] (the “Objection”) to the interim fee application of

Arnall Golden Gregory LLP [Doc. No. 376].

         Trustee; counsel for the Applicants, including Trustee; counsel for BlueAsh; and counsel

for the United States Trustee appeared at the Hearing. At the Hearing, counsel for the Applicants

announced that the United States Trustee and Arnall Golden Gregory LLP had reached an

agreement that the fees requested by Arnall Golden Gregory LLP would only be allowed in the

amount of $243,749.00 (or $10,000.00 less than amount set forth in its interim fee application).

         Following comments by counsel for the Applicants and counsel for BlueAsh, BlueAsh

made a proposal (the “Proposed Agreement”) whereby the fees and expenses of Trustee would

be allowed and paid in the amount of $33,855.68;1 the fees and expenses of Hays Financial

Consulting, LLC would be allowed and paid in the amount of $34,720.72; the fees and expenses

1
         This amount was reduced to reflect a slightly lower statutory trustee commission resulting from Trustee’s
not paying the requested expenses of Arnall Golden Gregory LLP in the amount of $2,657.65.



15284663v1
Case 15-53700-wlh          Doc 384       Filed 07/29/20 Entered 07/29/20 09:58:08                    Desc Main
                                        Document      Page 3 of 5



of Arnall Golden Gregory LLP would be allowed and paid in the amount of $150,000.00; and

Trustee would make an interim distribution to unsecured creditors in the amount of $76,524.35.2

         On July 23, 2020, after the Hearing, Trustee and BlueAsh filed a status report [Doc. No.

383], showing that Trustee and BlueAsh had agreed to the terms set forth in the Proposed

Agreement (the “Agreement”). The other Applicants also agree to the terms of the Agreement.

         The Court having considered the Fee Applications, the Objection, and the Agreement, for

all those reasons set forth on the record at the Hearing, and for good cause shown, it is hereby

         ORDERED that the First Interim Applications and the Agreement are APPROVED and

the Objection is SUSTAINED, as specifically set forth herein. It is further

         ORDERED that the fees and expenses of the Applicants are allowed as interim

compensation and reimbursement of expenses, as follows:

Applicant                                            Docket      Fees              Expenses        Total
S. Gregory Hays, Chapter 7 Trustee                   #377        $33,682.90        $172.78         $33,855.68
Hays Financial Consulting, LLC,                      #378        $34,415.00        $305.72         $34,720.72
Accountants
Arnall Golden Gregory LLP, Attorneys                 #376        $150,000.00 $0.00                 $150,000.00

It is further

         ORDERED that this order is entered without prejudice to Arnall Golden Gregory LLP

seeking allowance and payment of the remaining fees requested by Arnall Golden Gregory LLP

in its interim fee application [Doc. No. 376], less the $10,000.00 reduction that it previously

agreed to with the United States Trustee and without prejudice as to BlueAsh continuing to

pursue its objection to the remainder of said fees. It is further



2
         In effect, BlueAsh proposed shifting $30,000.00 of the fees that Arnall Golden Gregory LLP had requested
to be paid to allowed unsecured creditors, increasing the amount that Trustee had proposed to pay to holders of
allowed, non-priority, general unsecured claims in his Motion for Authority to Make Interim Distribution [Doc. No.
375] by that same $30,000.00.


15284663v1
Case 15-53700-wlh      Doc 384     Filed 07/29/20 Entered 07/29/20 09:58:08      Desc Main
                                  Document      Page 4 of 5



         ORDERED that Trustee is authorized and directed to pay to the respective Applicants

the sums allowed under this Order.

                                     [END OF DOCUMENT]

Order prepared and consented to by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
    michael.bargar@agg.com
171 17th Street, NW, Suite 2100
Atlanta, Georgia 30363
404-873-8500

Order consented to by:

ROGERS LAW OFFICES
Attorneys for BlueAsh

By:/s/ James F.F. Carroll     (with express permission by Michael J. Bargar)
    James F.F. Carroll
    Georgia Bar No. 940350
    jcarroll@berlawoffice.com
100 Peachtree Street, Suite 1950
Atlanta, Georgia 30303
Phone: 770-685-6320

Order reviewed by:

NANCY J. GARGULA
UNITED STATES TRUSTEE, REGION 21

By:/s/ Shawna Staton           (with express permission by Michael J. Bargar)
    Shawna Staton, Trial Attorney
    Attorney for the United States Trustee
    Georgia Bar No. 640220
Office of the United States Trustee
75 Ted Turner Drive, SW, Suite 362
Atlanta, GA 30303
shawna.p.staton@usdoj.gov




15284663v1
Case 15-53700-wlh      Doc 384     Filed 07/29/20 Entered 07/29/20 09:58:08            Desc Main
                                  Document      Page 5 of 5




Identification of parties to be served:

Office of United States Trustee, Suite 362, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303

S. Gregory Hays, Hays Financial Consulting, LLC, Suite 555, 2964 Peachtree Road NW,
Atlanta, GA 30305-2153

Katherine J. Hill, Hicks Hill, LLC, 305 Lawrence Street, Ste 210, Marietta, GA 30060

Brenda Kay Robertson, 78 Wall Street, Hampton, GA 30228

James F.F. Carroll, Rogers Law Offices, 100 Peachtree Street, Suite 1950, Atlanta, GA 30303

Michael J. Bargar, Arnall Golden Gregory, LLP, Suite 2100, 171 17th Street, NW, Atlanta, GA
30363




15284663v1
